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     COLINTY OF MAUI and
     MAUI PLANNING COMMISSION

                    IN THE CIRCUIT COURT OF THE SECOND CIRCUIT

                                           STATE OF HAWAII


  SPIRIT OF ALOHA TEMPLE, a Hawatt                 Civil No. l6-l-0103(l)
  nonprofit corporation, and FREDERICK R.          (Agency Appeal)
  HONIG,                                           (Agency Docket/Case No. SUP2 201210032

                Appl icants-Appel lants,           ORDER AFFIRMING THE MAUI
                                                   PLANNING COMMISSION'S [FINDINGS
        vs.                                        OF FACT, CONCLUSIONS OF LAW AND
                                                   DECISION AND ORDER DENYING
  COLINTY OF MAUI, ANd MAUI PLANNING               DOCKETNO. SUP2 2OI2IOO32, DATED
  COMMISSION,                                      ocToBER 28,20t4

                Agencies-Appellees.                HEARING:
                                                   Date: June 23,2016
                                                   Time: 11:00 a.m.
                                                   Judge: Honorable Rhonda I.L. Loo



            ORDER AFFIRMING THE MAUI PLANNING COMMISSION'S
      FINDINGS OF FACT, CONCLUSIONS OF LAW AND DECISION AND ORDER
          DENYING DOCKET NO. SUP 2012/0032. DATED OCTOBER 28.2014

         On February 25,2016, Applicants-Appellants SPIRIT OF ALOHA TEMPLE and

  FREDRICK R, HONIG, (hereinafter "Applicants-Appellants") filed their Notice of Appeal to




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  the Circuit Court regarding Agency Docket/Case No. SUP2 201210032. The Notice of Appeal

  was also made pursuant to the Order Granting Motion to Dismiss and/or for Partial Summary

  Judgment, filed January 27,2016 in the United States District Court for the State of Hawaii as

  Civil No. l4-00535.

           On March 16,2016, Agencies-Appellees County of Maui and Maui Planning

  Commission, (hereinafter "County") filed their Response to Appellants' Notice of Appeal to the

  Circuit Court and Statement of the Case.

           On April 25,2A16, Applicants-Appellants' filed their Opening Brief.

           On June 6,2016, the County filed its Answering Brief and an Errata to their Answering

  Brief on June 7, 2016.

           On June 20,2016, Applicants-Appellants filed a Reply Brief to County's Answering

  Brief,

           On June 23,2016, a Declaration of Counsel was filed submitting a copy of the Transcript

  of Proceedings before the Honorable Susan Oki Molllway, United States District Judge, held on

  November 16,2015 for Motion to Dismiss and/or for Partial Summary Judgment in the United

  States District Court for the District of Hawaii (Spirit of Aloha Temple, et al. v. County of Maui;

  Maui Planning Commission, CY 14-00535 SOM-RLP).

           Oral argument on this administrative appeal to the Circuit Court was heard before the

  Honorable Rhonda I.L. Loo on June            23,2016.      Jonathan Durrett appeared on behalf of the

  Applicants-Appellants, and Brian A. Bilbeny appeared on behalf of the County. The record

  reflects that Applicant-Appellant FREDERICK R. HONIG was also present in court.


  ORDER AFFIRMING THE MAUI PLANNING COMMISSION'S [FINDINGS OF FACT, CONCLUSIONS OF
  LAW AND DECISION AND ORDER DENYING DOCKETNO. SUP2 2012/0032, DATED OCTOBER 28,2014;
  Spiril of Aloha Temple, et ol. v. County of Maui, et al., CivilNo.   I   6- I -0 I 03( I ).




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         The Court, having reviewed the Notice of Appeal, response, opening brief, answering

  brief, reply briel files and records herein, and having heard oral arguments, and for good cause

  shown, hereby AFFIRMS the Finding of Fact, Conclusions of Law and Decision and Order

  Denying Docket No. SUP2 201210032, dated October 28,2074, as follows:

         The Applicant-Appellants seek reversal of the MAUI PLANNING COMMISSION'S

  denial of an application for a Special Use Permit under HRS Section 91-14(g), primarily arguing

  that the commission's factual findings were clear error.

         The Court cannot find clear error in the Maui Planning Commission's factual f,rndings or

  error in its legal conclusions. Moreover, the Commission's decision does not appear to be

  arbitrary, capricious or an abuse of discretion.

         In reviewing the findings of fact, the Commission's decision, the record on appeal, and

  applying Maui County Code $ 19.510.07 and Hawai'i Administrative Rules $ 15-15-95, there is

  more than sufficient basis for the Planning Commission's denial of the Special Use Permit.

         The Applicants-Appellants argue it was clear error for the Commission to base its denial

  on traffic and road safety   concerns. The Commission had more than enough evidence to be

  concerned about traffic and road   safety. Numerous individuals   expressed concern about traffic

  and road   safety. Moreover, contrary to the Applicants-Appellants'   assertions, the agency

  comments on the proposed uses were not all favorable to the Applicants-Appellants.

         Additionally, traffic and road safety were not the only concerns of the Commission.

  The Commission found, among other things, the proposed uses would adversely affect

  surrounding properties in the conflict with Hawai'i Administrative Rules $ 15-15-95(2). The


  ORDER AFFIRMING THE MAUI PLANNING COMMISSION'S [FINDINGS OF FACT, CONCLUSIONS OF
  LAW AND DECISION AND ORDER DENYTNG DOCKET NO. SUP2 2OI2IOO32, DATED OCTOBER 28,2014;
  Spirit of Aloha Temple, et al. v. County of Maui, et al., Civil No. I 6- I -01 03( I ).




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  record contains significant evidence of the negative impact the proposed uses would inflict upon

  surrounding properties.

            In addition to extensive live testimony opposing the special uses, it appears there are

  many objection letters, and paucity of support letters, submitted to the Commission from

  adjacent land owners.

            There is no evidence of unusual conditions, trends, and needs arising since the district

  boundaries and rules were established. This also weighs against granting the Special Use

  Permit.

            The Court also notes that there is no indication from the Applicants-Appellants that the

  land upon which the proposed use is sought is unsuited for the uses already permitted with the

  district. Agricultural uses were found, in fact, to not be precluded by the current    condition of

  the property.

            For these foregoing reasons, the Court AFFIRMS the Maui Plaruring Commission's

  decision.
                                                             N:V 1 E 201$
            DATED: Honolulu,Hawaii,



                                                  JUDGE OF THE ABOVE-ENTITLED COURT

  APPROVED AS TO FORM:



  ADAM G. LANG
  SHALINA L. SILVA BELL
  Attorneys for Applicants-Appellants
  SPIRIT OF ALOHA TEMPLE and
  FREDERICK HONIG

  ORDER AFFIRMING THE MAUI PLANNING COMMISSION'S [FINDINGS OF FACT, CONCLUSIONS OF
  LAW AND DECISION AND ORDER DENYING DOCKET NO. SUP2 2OI2IOO32, DATED OCTOBER 28,2074;
  Spirit of Aloha Temple, et al. v. County of Maui, et al.,Civil No. l6-l-0103(l).
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